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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

AL JABBAR SALAM,
ADC #091534                                                                         PLAINTIFF

V.                              CASE NO. 4:20-CV-462-JM-BD

ESTELLA BLAND, et al.                                                            DEFENDANTS

                                              ORDER

        The Court has received a Recommendation for dismissal filed by Magistrate Judge Beth

Deere. After careful review of the Recommendation and the timely objections received thereto,

as well as a de novo review of the record, the Court approves and adopts the Recommendation as

this Court’s findings in all respects.   The Defendant’ motion to dismiss (Doc. No. 47) is

GRANTED. Mr. Salam’s lawsuit is DISMISSED, without prejudice.

        IT IS SO ORDERED, this 22nd day of March, 2021.



                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
